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               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:05CR443
                              )
          v.                  )
                              )
ALFREDO CASTANEDA,            )                       ORDER
                              )
               Defendant.     )
______________________________)


           IT IS ORDERED that trial of this matter is rescheduled

for:

                Monday, July 10, 2006, at 9 a.m.

in Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska.        The ends of justice will be

served by continuing this case and outweigh the interests of the

public and the defendant in a speedy trial.            The additional time

between May 8, 2006, and July 10, 2006, shall be deemed

excludable time in any computation of time under the requirement

of the Speedy Trial Act.      18 U.S.C. § 3161(h)(8)(A) & (B).

           DATED this 8th day of May, 2006.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _________________________________
                                       LYLE E. STROM, Senior Judge
                                       United States District Court
